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EXHIBIT E
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
SARAH BRANNEN, BENJAMIN
GLASS, on behalf of himself and his
minor child, GEORGE M.
JOHNSON, DAVID LEVITHAN,
KYLE LUKOFF, ANN
NOVAKOWSKI, on behalf of herself
and her minor child, PENGUIN
RANDOM HOUSE LLC, SEAN
PARKER, on behalf of himself and
his minor child, ASHLEY HOPE
PEREZ, and CHRISTOPHER CASE NO.: 3:23-CV-10385-TKW-ZCB
SCOTT SATTERWHITE, on behalf
of himself and his minor child,

Plaintiffs,
VS.

ESCAMBIA COUNTY SCHOOL
BOARD,

Defendant.
/

DECLARATION OF KEVIN ADAMS

I, Kevin Adams, pursuant to 28 U.S.C. § 1746, declare under penalty of
perjury that the statements made below are true and correct.

1. Iam over the age of 18 and I am competent to testify as to the facts
stated in this declaration. I have personal knowledge of the matters set forth

herein.
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2. Iam currently a member of the School Board of Escambia County,
Florida, an elected position. I have served on the School Board of Escambia
County since 2016.

3. I give this declaration in support of the School Board of Escambia
County’s Renewed Motion for Protective Order Asserting Legislative Privilege
seeking to protect the elected members of the School Board of Escambia County
from compelled depositions in the matter of PEN American Center, Inc., et al. v.
Escambia County School Board, Case No. 3:23-cv-10385-TKW-ZCB.

4. Jam aware that the Plaintiffs in the above-referenced matter would
like to take my deposition.

5. It is my understanding that the School Board of Escambia County,
acting by and through counsel, seeks to invoke the legislative privilege on my
behalf in order to prevent or quash any such efforts to depose me in the above-
referenced matter.

6. Therefore, to the extent the legislative privilege is applicable to me
and may be invoked by me, I confirm my intent to assert the legislative privilege
here.

7. In asserting the legislative privilege, I rely on counsel for the School

Board of Escambia County for doing so.

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I have read the foregoing statements and declare under penalty of perjury

that they are true and correct.

C/23/2027 Ke LEO

Date KEVIN ADAMS

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